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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:06CR184
                              )
          v.                  )
                              )
GREGG STEVENSON,              )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

to suppress evidence (Filing No. 37), the report and

recommendation of the magistrate judge (Filing No. 63), and the

objections of defendant to said report (Filing No. 64).

          The Court has conducted a review of the transcript

(Filing No. 57) and the report and recommendation of the

magistrate judge, together with defendant’s objections thereto,

and the briefs of the parties.       The Court finds that the report

and recommendation should be approved and adopted for the reasons

stated by the magistrate judge in his opinion.            Accordingly,

          IT IS ORDERED:

          1) The report and recommendation of the magistrate

judge is approved and adopted; defendant’s motion to suppress is

denied.
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          2) Trial of this matter is scheduled for:

                Monday, May 21, 2007, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     In order to give counsel adequate time

to prepare for trial, and to accommodate the Court’s trial

schedule, the matter is continued until that date.              The ends of

justice will be served by continuing this case and outweigh the

interests of the public and the defendant in a speedy trial.                 The

additional time between March 29, 2007, and May 21, 2007, shall

be deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act.         18 U.S.C. § 3161(h)(8)(A)

& (B).

          DATED this 29th day of March, 2007.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
